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                                           Attorneys for Defendants XTO Energy Inc. and Scott Griffith

                                                               IN THE UNITED STATES DISTRICT COURT
                                                                    FOR THE DISTRICT OF ALASKA

                                           PATHFINDER AVIATION, INC.,
                                                                                              Case No. 3:15-cv-00200-HRH
                                                                         Plaintiff,
                                                                                               NOTICE OF REMOVAL
                                                   v.

                                           XTO ENERGY INC. and                          On removal from the Superior Court for
                                           SCOTT GRIFFITH,                              the State of Alaska, Third Judicial
                                                                                        District at Kenai
                                                                      Defendants.       Case No. 3KN-15-00846 CI

                                           TO:     The Clerk of the United States District Court for the District of Alaska

                                                   Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendants XTO Energy Inc.

                                           (“XTO”) and Scott Griffith (“Griffith”), (collectively “Defendants”), by and through
OLES MORRISON RINKER & BAKER LLP


 Tel: (907) 258-0106 Fax: (907) 258-5519




                                           undersigned counsel, hereby give notice and remove this case to the United States
       601 West Fifth Avenue, Suite 900
        Anchorage, Alaska 99501-2154




                                           District Court for the District of Alaska at Anchorage.

                                                   In accordance with 28 U.S.C. § 1446(a), the grounds for the removal are as

                                           follows:




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                                                    Background and Procedural Requirements.

                                                    1.     XTO and Griffith are defendants in the action titled “Pathfinder

                                           Aviation, Inc. v. XTO Energy Inc. and Scott Griffith,” pending in the Superior Court

                                           for the State of Alaska, Third Judicial District at Kenai, Case No. 3KN-15-846CI

                                           (“State Court Action”).

                                                    2.     Pathfinder Aviation, Inc. (“Pathfinder”) filed its complaint in the State

                                           Court Action on September 17, 2015.

                                                    3.     XTO was served with process in the State Court Action on

                                           September 25, 2015.

                                                    4.     Griffith was served with process in the State Court Action via

                                           forwarded, certified mail on October 7, 2105.

                                                    5.     This Notice of Removal is timely, as it is being filed within thirty days

                                           after receipt of the initial pleading and within thirty days of service of process as

                                           required by 28 U.S.C. 1446(b), as computed pursuant to Fed.R.Civ.P. 6(a).

                                                    6.     Pursuant to 28 U.S.C. § 1446(a), Defendants attach as Exhibit A hereto

                                           a copy of the complaint in the State Court Action.
OLES MORRISON RINKER & BAKER LLP


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                                                    This Court Has Jurisdiction Because the Parties Are Diverse and the
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                                                    Amount in Controversy Exceeds $75,000.

                                                    7.     Defendant XTO is now, and at the time this action was commenced

                                           was, a Delaware corporation with its principal place of business in the State of

                                           Texas.



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                                                   8.      Defendant Griffith is now, and at the time this action was commenced

                                           was, a citizen of the State of Oklahoma, domiciled and residing in Enid, Oklahoma.

                                           See Affidavit of Scott A. Griffith attached hereto as Exhibit B.

                                                   9.      Plaintiff Pathfinder is an Alaska corporation with its principal place of

                                           business in the State of Alaska, Complaint at p. 1, ¶1, and seeks damages “in an

                                           amount to exceed $100,000.” Complaint at p. 10.

                                                   10.     This Court therefore has original jurisdiction over the State Court

                                           Action under 28 U.S.C. § 1332 and removal jurisdiction under 28 U.S.C. § 1441(a)

                                           and (b).

                                                   Venue and Removal Under 28 U.S.C. § 1441(a)

                                                   11.     Venue is proper in this Court pursuant to 28 U.S.C. § 1446(a), as the

                                           United States District Court of the District of Alaska is the District in which the State

                                           Court Action was pending.

                                                   12.     This matter is removable under 28 U.S.C. § 1441 as a civil action over

                                           which the United States District Court for the District of Alaska has original subject

                                           matter jurisdiction under 28 U.S.C. § 1332.
OLES MORRISON RINKER & BAKER LLP


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                                                   13.     Removal is timely under 28 U.S.C. § 1446(b)(2)(B).
        Anchorage, Alaska 99501-2154




                                                   Effectuation of Removal.

                                                   14.     Defendants XTO and Griffith hereby remove this action to the United

                                           States District Court for the District of Alaska.




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                                                   15.     By filing this Notice of Removal, Defendants XTO and Griffith

                                           expressly consent to the removal.

                                                   16.     Pursuant to 28 U.S.C. § 1446(a), the Complaint, on file in the record of

                                           the State Court Action is attached as Exhibit A.

                                                   17.     The allegations of the Notice of Removal were true at the time the State

                                           Court Action was commenced and remain true as of the date of filing of this Notice

                                           of Removal.

                                                   18.     Undersigned counsel certifies that a notice of filing removal, along with

                                           a copy of this Notice of Removal, will be promptly filed with the Superior Court for

                                           the State of Alaska, Third Judicial District at Kenai.

                                                   WHEREFORE, Defendants hereby remove this action to the United States

                                           District Court for the District of Alaska.



                                                   Respectfully submitted this 16th day of October, 2015 at Anchorage, Alaska.

                                                                               OLES MORRISON RINKER & BAKER LLP
OLES MORRISON RINKER & BAKER LLP


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                                                                               By: s/Barat M. LaPorte
                                                                                   Barat M. LaPorte, ABA No. 9511064
       601 West Fifth Avenue, Suite 900
        Anchorage, Alaska 99501-2154




                                                                                     Attorneys for Defendants XTO Energy Inc.
                                                                                     and Scott Griffith




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                                           CERTIFICATE OF SERVICE
                                           I hereby certify that on October 16, 2015, a copy of the
                                           foregoing document was served electronically on the
                                           following parties:

                                           David K. Gross
                                           Mara E. Michaletz

                                           OLES MORRISON RINKER & BAKER LLP

                                           s/Barat M. LaPorte


                                           4825-8392-9385, v. 1
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